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                           IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF DELAWARE

 ARBUTUS BIOPHARMA CORPORATION                       )
 and GENEVANT SCIENCES GmbH,                         )
                                                     )
                  Plaintiffs,                        )
                                                     )
    v.                                               ) C.A. No. 22-252-MSG
                                                     )
 MODERNA, INC. and MODERNATX, INC.,                  )
                                                     )
                  Defendants.                        )


              STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME

         The parties hereby stipulate and agree, subject to the approval of the Court, that the

deadline for plaintiffs to file an answering brief in opposition to Defendants’ Partial Motion to

Dismiss Pursuant to Federal Rule of Civil Procedure 12(b)(6) (D.I. 17) is extended to and

including June 3, 2022. The parties further stipulate that the time for defendants to file a reply

brief in support of its motion to dismiss is extended through and including June 24, 2022.

 /s/ Karen E. Keller                                 /s/ Brian P. Egan
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 Karen E. Keller (No. 4489)                          Brian P. Egan (No. 6227)
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 Dated: May 13, 2022
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SO ORDERED this ___________ day of _____________ 2022.


                                     _________________________________
                                     U.S.D.J.




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